Case 1:21-cv-02367-RLY-DLP Document 57 Filed 09/21/22 Page 1 of 2 PageID #: 379




                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION

 NATHAN TAYLOR,                                  )
                                                 )
                            Plaintiff,           )
                                                 )
                       v.                        )     No. 1:21-cv-01858-JRS-DLP
                                                 )
 BEST WELD, INC.,                                )
 SHARON D MONTGOMERY,                            )
                                                 )
                            Defendants.          )

                  MINUTE ENTRY FOR SEPTEMBER 21, 2022
                          STATUS CONFERENCE
                 HON. DORIS L. PRYOR, MAGISTRATE JUDGE

       Parties appeared by telephone for a Status Conference. The parties reported

 that a settlement had been reached in this action. Therefore, all pending, motions,

 if any, are now DENIED AS MOOT and all previously ordered dates relating to

 discovery, filings, schedules, conferences, and trial, if any, are VACATED.

       Within forty-five (45) days of the date of this entry, the parties shall file

 motions for final certification of the conditionally certified collection action and

 approval of the settlement agreement and submit proposed orders for the Court's

 signature. Additional time to file either motion may be granted for good cause

 shown, if requested in writing before expiration of this period.

       This matter is scheduled for a telephonic status conference on October 24,

 2022 at 9:30 a.m. (Eastern) to discuss case status. Counsel shall attend the status
Case 1:21-cv-02367-RLY-DLP Document 57 Filed 09/21/22 Page 2 of 2 PageID #: 380




 conference by calling the designated telephone number, to be provided by the Court

 via email generated by the Court's ECF system.

       So ORDERED.


         Date: 9/21/2022




 Distribution:

 All ECF-registered counsel of record via email
